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                     Exhibit F
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                         DECLARATION OF ANDRE WASHINGTON


        Now comes declarant Andre Washington, having been first duly cautioned and sworn,

deposes and states as follows:

        1.      I am over the age of 18 and fully competent to testify to the statements and facts

contained herein, and I have personal knowledge of all of them.

        2.      I am a resident and elector of the State of Ohio.

        3.      I have dedicated my life to the preservation and expansion of voting rights.

        4.      I am the President of the Ohio Chapter of the A. Philip Randolph Institute (APRI).

APRI is an historic national organization devoted to political, social, and economic justice for all

working Americans. We focus on access to voting rights through voter education and registration,

civic engagement, and voter outreach. Our foundation comes from the Black Labor Alliance, a

coalition of civil rights and labor leaders who helped to pass the Voting Rights Act of 1965. Today,

we work in our communities to continue ensuring people have the right to vote and participate in

the political process.

        5.      As President of Ohio APRI, I coordinate eight local chapters and hundreds of

members and volunteers statewide. We organize, for example, voter registration drives,

educational events, and “get out the vote” activities. We do this through door-to-door canvassing

and community events, like group meetings and clam bakes.

        6.      I am also the Treasurer of the Ohio chapter of the National Association for the

Advancement of Colored People (NAACP). The NAACP’s mission is to create an America where

every person has equal rights without discrimination on the basis of race. My work with NAACP

also emphasizes voting rights: we organize statewide voter registration and get out the vote efforts

every election cycle.

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       7.        It is my personal mission to help get everyone in my community registered to vote

and involved in the political process, through my work with these organizations and in my private

life. Each day when I go out of the house, I carry voter registration forms in my pocket.

       8.        I believe in, and support, the “Secure and Fair Elections Amendment” to the Ohio

Constitution that the group Ohioans for Secure and Fair Elections (OSFE) is trying to put on Ohio’s

November, 2020 ballot. This is an Amendment that I believe will protect and expand voting rights

in Ohio, and it is exactly in line with the work I do. I have been following the OSFE Amendment’s

progress since the idea’s inception, and planning to help organize others to support its petition for

ballot access.

       9.        I realize that the OSFE Amendment is currently being litigated in the state Supreme

Court, and there is some risk that it would be divided, and possibly even that some of its

components would not make it to the petition stage. I would work to propose any part of this

Amendment, even a small part—some expansion of voting rights is better than the status quo.

       10.       I am connected to a broad network of voting rights and other civil rights organizers

throughout the state, and I want to be able to mobilize these people to circulate the OSFE petition

and to get the word out about the proposed Amendment.

       11.       Based on my experience as a longtime voting rights advocate, I know what is

required both as a practical matter, and by Ohio law, to collect signatures for a successful petition:

you need hundreds of people walking the streets, interacting with others at parks, shopping centers,

and other public places, knocking on doors with clipboards and pens, and talking to their neighbors

and shaking their hands, to get the word out and to get people educated. Then, you need those

volunteers to get together and count every signature line on every piece of paper, submit the




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petition for certification, and more than likely go back out and repeat the process again, if the

signatures were insufficient. Your team needs to interact with hundreds of thousands of people.

        12.     Since the COVID-19 pandemic struck, it has become unsafe for me to leave my

home, let alone meet with and organize with others as I typically would. This highly contagious

disease is not only frightening, it is life-threatening. I am taking the safety recommendations of

medical experts and of the state government—to limit contact with others and to limit interactions

in any public setting—very seriously.

        13.     As a result of COVID-19 and the precautions it makes necessary, I have even

stopped attending church in person. Besides my civil rights work, my church is the most central

part of my personal life. This has been difficult, and like others, I am struggling to adjust to this

new reality.

        14.     Given the disease spread, the nature of all of my work is either changing or stopping

altogether—we cannot safely organize for any purpose in group settings, or have any person-to-

person contact. All of the organizations that I work with have cancelled their events.

        15.     There is no way, now, for me to safely sign a petition, let alone circulate one.

        16.     I certainly cannot ask other people in my organizations and social networks to sign

or circulate a petition either, without putting their lives or the lives of others at risk.

        17.     All of the conventional ways in which we would organize to get the OSFE petition

signed are cut off. This spring, there can be no church gatherings or community festivals. Even

shops and school campuses will be closed. The foundations of a successful campaign are cut off.

        18.     I deeply wish to support the circulation of OSFE’s petition, both through personal

circulation and through mobilizing others, but I no longer see how it will be possible.




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          19.    If I could circulate the petition either electronically or remotely, or have people sign

by proxy or by other means that would not risk their health or mine, I would do so. I would also

educate others to do so. Even then, I would likely not be able to obtain nearly as many signatures,

since the means of public association I have always relied on are so severely limited during this

crisis.


           I declare under penalty of perjury that the foregoing is true and accurate.

Executed on April 29, 2020

/s/ Andre Washington

Andre Washington




I, Elizabeth M. Bonham, certify that I reviewed the information contained in this declaration

with Andre Washington by telephone on March 28, 2020, and that at that time, he certified that

the information contained in this declaration was true and accurate to the best of his knowledge.

Executed on April 29, 2020.

                                                 ________________________
                                                 Elizabeth M. Bonham
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                                                 4506 Chester Ave
                                                 Cleveland, OH 44103
                                                 (614) 568-1958
                                                 ebonham@acluohio.org




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